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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

CHARNITA PROCTOR                                     )
                                                     )
       Plaintiff,                                    )
                                                     )
          v.                                         )    Case No: 2020-cv-02162-BAH
                                                     )
FIRST PREMIER CORPORATION                            )
                                                     )
       Defendant,                                    )
                                                     )
KOHLS CORP.                                          )
                                                     )
       Defendant,                                    )
                                                     )
CREDIT ONE FINANCIAL                                 )
                                                     )
       Defendant,                                    )
                                                     )
MERRICK BANK CORPORATION                             )
                                                     )
       Defendant,                                    )
                                                     )
TD BANK US HOLDING COMPANY                           )
                                                     )
       Defendant,                                    )
                                                     )
CITIGROUP INC.                                       )
                                                     )
       Defendant,                                    )
                                                     )
MIDLAND CREDIT MANAGEMENT, INC.                      )
                                                     )
       Defendant,                                    )
                                                     )
FIRST SAVINGS BANK                                   )
                                                     )
       Defendant.                                    )

                    FIRST AMENDED COMPLAINT AND JURY DEMAND

       The Plaintiff, Charnita Proctor, by and thru undersigned counsel, brings this complaint

against the defendants and alleges as follows:




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                                PRELIMINARY STATEMENT

       1.        This is an action for actual, statutory and punitive damages, costs and attorney's

fees pursuant to 15 U.S.C. § 1681 et seq. (Fair Credit Reporting Act or "FCRA") and 15 U.S.C.

§ 1692 et seq (Fair Debt Collection Practices Act or “FDCPA”).

                                     PARTIES TO ACTION

       2.        Plaintiff is a natural person that resided in the District of Columbia during the

relevant time periods of this lawsuit.

       3.        First Premier Bank provides banking services, including credit cards to

consumers with subprime credit.

       4.        Kohl's operates a chain of department stores that sell clothing apparel,

housewares and home products. Kohl's also offers online shopping as well as store credit cards.

       5.        Credit One Financial owns Credit One Bank, N.A., which is a national chartered

bank that provides credit cards to individuals with subprime credit.

       6.        TD Bank US Holding Company operates as a holding company. The Bank,

through its subsidiaries, including TD Bank NA and TD Bank USA NA, provides consumer

loans, commercial loans, mortgage loans, deposit products, trust services, internet banking,

credit cards, insurance, and investment management services.

       7.        Merrick Bank, a subsidiary of Cardworks, Inc., issues VISA cards and specializes

in providing credit to consumers looking to build or rebuild their credit.

       8.        CitiGroup Inc. operates as a bank that provides an assortment of financial

products and services to consumers. Citi has a business arrangement with Sunoco that allowes

Sunoco to issue private label credit cards to consumers.

       9.        Midland Credit Management, Inc. is one of the largest debt collectors in the

United States.

       10.       First Savings Bank is a bank and it issues MasterCard credit card to consumers.

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                                 FACTUAL ALLEGATIONS

       11.     Appearing on Ms. Proctor’s credit report with Equifax are 8 inaccurate or

incomplete derogatory accounts being reported by the Defendants.

       12.     First Premier Bank reported that Ms. Proctor paid less than the full balance owed.1

First Premier Bank’s reporting was inaccurate and/or incomplete because she paid the amount

owed or more than the amount that was owed. Ms. Proctor disputed First Premier Bank’s

reporting with the credit reporting agencies. However, First Premier Bank did not conduct a

reasonable investigation of her dispute and continued reporting the debt inaccurately.

       13.     Kohl’s reported that Ms. Proctor owed $398 and that her account had been

charged off. The reported balance was inaccurate and/or incomplete. And the reporting was

inaccurate and/or incomplete because it misleadingly gave the impression that Ms. Proctor has a

recent charge off, that there are numerous charge offs, and that she exceeded the credit limit. Ms.

Proctor disputed the Kohl’s account with the CRAs, but Kohl did not conduct a reasonable

investigation of her dispute. Even a cursory investigation would have revealed that the reported

payment history conflicted with the reported balance and indicated that the balance could not be

$398. Further, the status of the account conflicted with the balance. Also, Kohl’s failed to report

the proper dispute status of the debt.

       14.     CitiGroup reported Ms. Proctor as having a debt that was charged off and having

a current balance of $575. The reporting was inaccurate and/or incomplete because Ms. Proctor

was not legally obligated to pay the debt. Further, the payment status conflicted with the reported

balance. Ms. Proctor disputed the CitiGroup account with the CRAs, but CitiGroup failed to

reasonably investigate her claims.




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 Plaintiff was not provided an agreement or contract that required arbitration of her disputes
with or claims against First Premier Bank.
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       15.     Merrick Bank reported Ms. Proctor as owing an outstanding balance of $1,058

on a charged off account. Merrick’s reporting was inaccurate and/or incomplete because the

reported balance was not verifiable. Ms. Proctor directly inquired and/or disputed the balance

with Merrick and Merrick did not understand its own records or its records were incomplete or

insufficient as Merrick was unable to state how it determined the reported amount. Also, Merrick

is inaccurately and/or misleading reporting that there was a very recent charge off on the account

and that there are numerous charge offs instead of just a single charge off. Furthermore, the

payment status and payment history conflicted with the balance. Ms. Proctor disputed the

account with the CRAs, however, Merrick refused to reasonably look into the merits of her

claims and falsely reported the information as accurate without actually confirming the accuracy

of the information. Additionally, Merrick failed to report the proper dispute status of the debt.

       16.     First Savings Bank reported Ms. Proctor had a debt of $561 and that the debt had

been charged off. First Savings Bank reported no balance to Experian but reported the $561

balance to Trans Union and Equifax. Further, First Savings Bank could not demonstrate how it

calculated the amount owed, much less could it verify the accuracy of the claimed amount, in

response to a direct inquiry and/or dispute from Ms. Proctor. In fact, First Savings Bank could

not even verify that the debt belonged to Ms. Proctor. Ms. Proctor disputed the account with the

CRAs. In response to her dispute, First Savings Bank failed to conduct a reasonable investigation

and/or failed to accurately report the results of its investigation. On at least one occasion, First

Savings Bank failed to report the proper dispute status to the CRA.

       17.     TD Bank reported a charged off debt that had an outstanding balance of $464.

The reporting of the charge off is inaccurate and/or misleading because it is being reported as a

recent charge off and there are numerous charge offs being reported instead of one. The reported

balance, which conflicted with the balance reported in the payment history, was inaccurate

because it was substantially inflated, or the balance included unauthorized amounts. Ms. Proctor

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made a direct request with Defendant regarding the balance, but it was only able to state that the

underlying balance was $172.28 and referred me to a debt collector for further information.

However, the debt collector, Financial Recovery Services, was also unable to provide the

requested information. Ms. Proctor disputed the account with the CRAs, and TD Bank verified

the debt as accurate despite knowing that it did not have the information in its possession to

verify the debt amount was accurate. Furthermore, TD Bank did not report the dispute status of

the debt.

       18.      Credit One Bank reported a debt as a charged off that was paid, but also as sold

to another lender. Credit One Bank’s reporting was inaccurate and/or incomplete because the

Pay Status was inaccurate, the Remarks was inaccurate, and the Account Sale Info was

inaccurate. The Pay Status should have stated the debt was Paid. The Remarks should have

notated the reporting was still being disputed. And the Account Sale Info was patently inaccurate

for the account was paid and there was no debt to be sold to another lender. Ms. Proctor disputed

this account with the CRAs. Credit One Bank failed to conduct a reasonable investigation of her

dispute and verified the inaccurate information without verifying the information as accurate.

       19.      Midland reported four collections that derived from debts with Comenity Bank.

The reportings were inaccurate and/or incomplete because Ms. Proctor did not have outstanding

balances with Comenity Bank. In fact, Comenity reported two of the four accounts as paid with

no outstanding balance to at least one CRA while reporting the accounts with a balance to other

CRAs. Ms. Proctor disputed the Midland collections with the CRAs. If Midland had investigated

the claims in her dispute, it could have easily determined that no debt existed with Comenity

Bank and therefore, Midland did not acquire a debt from Comenity Bank. However, Midland

did not investigate the Plaintiff’s dispute. Instead, Midland verified its reporting as accurate

without looking into the claims raised in the dispute.



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                          COUNT ONE: VIOLATION(S) OF FCRA

       20.     Plaintiff incorporates paragraphs 1 through 19.

       21.     Within two years of the filing of this lawsuit, the Plaintiff sent the CRAs written

disputes of the accounts reported by the Defendants.

       22.     After receiving the Plaintiff’s disputes, the CRAs forwarded her dispute to the

Defendants to investigate.

       23.     Under the FCRA, 15 U.S.C. §1681s-2(b), the Defendants were required to

conduct a reasonable investigation that consisted of a careful inquiry into Plaintiff's dispute.

       24.     Defendants did not even make a superficial inquiry into Plaintiff’s disputes, much

less did they conduct a careful and reasonable investigation of Plaintiff’s disputes.

       25.     Defendants’ policy is to verify the reported information is consistent with the

information in its files regardless of whether its disputed files are accurate or not.

       26.     Defendants do not have any procedures or they lack adequate procedures to verify

their credit reporting files are accurate because the Defendants focuse on limiting the expense of

an investigation rather than employing and maintaining reasonable procedures.

       27.     Defendants would have learned that their files contained inaccurate information

if they had performed a careful inquiry of Plaintiff’s dispute.

       28.     Despite the Fourth Circuit’s opinion in Johnson v. MBNA, the Defendants have

not adopted procedures, or they routinely fail to implement procedures, that require their dispute

processors to conduct careful, thorough inquiries of disputed information during the

investigation of a consumer’s dispute.

       29.     Defendants violated the FCRA, 15 U.S.C. §§ 1681s-2(b)(1)(A)-(E) by failing to

fully and properly respond to the Plaintiff's disputes.

       30.     Defendants violated the FCRA, 15 U.S.C. §§ 1681s-2(b)(1)(D)&(E) by failing to

delete or modify the disputed information after they investigated Plaintiff’s disputes.

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       31.     Defendants violated the FCRA, 15 U.S.C. §§ 1681s-2(b)(1)(A)-(D) by failing to

notate that Plaintiff continued to dispute the reported information.

       32.     Defendants violated the FCRA, 15 U.S.C. §§ 1681s-2(b)(1)(A)-(D) by failing to

report any mitigating factors concerning the negative reporting,

       33.     Defendants’ foregoing violations caused the Plaintiff to experience severe

emotional distress (i.e. frustration, humiliation, anger, etc.), which occasionally manifested as

physical sickness – headaches, stomach pains, sleeplessness and depression.

       34.     Defendants’ failure to modify or delete the inaccurate information caused the

Plaintiff to lose credit opportunities, damage to reputation, and interference with plaintiff’s

normal and usual activities

       35.     Defendants conduct was not only negligent, but their policies were willful in that

the policies were designed to skirt the law because complying with the law would hurt or

diminish their profits. Defendants’ intentional decision to circumvent the law, was reckless and

placed in Defendants in a very high-risk position of violating the FCRA.

       36.     Plaintiff is seeking actual damages in the amount of $100,000 pursuant to 15

U.S.C. § 1681o. Plaintiff is also seeking punitive damages in the amount of $500,000 pursuant

to 15 U.S.C. § 1681n. Additionally, Plaintiff is entitled to statutory damages of $1,000 and her

costs for bringing this action.

                         COUNT TWO: VIOLATION(S) OF FDCPA

       37.     Plaintiff incorporates paragraphs 1 through 19.

       38.     Defendant Midland violated 15 U.S.C. § 1692e(8) by reporting credit information

to the CRAs that Midland knew was false. and/or failing to communicate that the

disputed debt was disputed.

       39.     Defendant Midland violated 15 U.S.C. § 1692e(8) by reporting derogatory

credit information to the CRAs without communicating that information was under dispute.

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       40.     Defendant’s violations caused the Plaintiff to endure damages including credit

damage, injury to financial reputation, out-of-pocket costs, mental and emotional distress.

       41.     Defendant’s conduct was the proximate cause of Plaintiff’s injuries, rendering

Defendants’ liable for actual damages in an amount to be determined by the jury pursuant to 15

U.S.C. § 1692k(a)(1), statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A), and reasonable

attorney’s fees pursuant to 15 U.S.C. § 1692k(a)(3).

       WHEREFORE, your Plaintiff demands judgment for actual, statutory and punitive

damages against Defendants; for her attorney's fees and costs; for prejudgment and post-

judgment interest; and any other relief deemed appropriate by this Court.

                                             Respectfully submitted,

                                             CHARNITA PROCTOR

                                                 /s/ Jeffrey W. Styles
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